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                  IN T H E UN ITED STAT ES D ISTRICT CO U RT
                  FO R TH E W E STE RN D IST RICT O F W R GIN IA               BY       DUDLR CLERK
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UNITEDSTATESOFAMRRICA ) CaseNo.Q.
                                ,pôœwlo-
                                         )
v.                                       )   INDICTMENT
                                         )
TERRANCE ANTW M N PENN                   )   In violation of:
                                         )   18U.S.C.j2251(a)
                                         )   18U.s.c.j922(g)(1)

                                      èouw'r oNE

      TheGrandJutychatgesthat:
       1. O n otaboutN ovem ber21,2019,in theW estetn D isttictofVirginia,the

defendant,TERR AN CE AN TW A IN PEN N ,did em ploy,use,persuade,induce,enéce and

coerceP.W .,who wasthen am itnorundetthe age of18 yearsold,to engagein sexually

explicitconduct,foztheputposeofproducingoneormotevisualdepictionts)of
                                                                    zr
                                                                       such
conductatadwhichvisualdepictionts)wasptoducedandtranstnittedusingmaterialsthathad
been m ailed,slùpped,and transported in and affecting interstate and foreign com m erceby

any m eans,inclucling by com puter.

       2. AIIinviolaéon ofTitle1à,UnitedStatesCode,j2251(a).
                                      CO U N T TW O

      TheGrandlutychargesthat:                                                      :
                                                                                    l
       1. O n ozaboutD ecem bez3,2019,in tlaeW estern D istrictofVirgitlia,thè

defendant,TERR AN CE AN TW AIN PEN N ,did em ploy,use,persuade,induce,endce and

coerceP.W .,who wasthen am inotunderthe age of18 yeatsold,to engageitasexvally
   Case 4:20-cr-00012-JLK Document 1 Filed 03/05/20 Page 2 of 4 Pageid#: 2




explicitconduct,fortheptuposeofproducingoneormorevisualdepicdonts)ofsuch
conductandwhichvisualdepictbnts)waspzoducedand ttansnnittedusingmaterialsthathad       N.


been m ailed,shipped,and transported in and affecting interstate and foreign com m ezce by

anym eans,including by com putet.

       2. A11inviolaéonofTitle18,UnitedStatesCode,j2251(a).
                                    CO U N T TH REE

       TheGrahdlutyflzttherchargesthat:
       1. O n oraboutD ecem ber7,2019,in theW estetn D istrictofVitginia,the

defendant,TERRAN CE ANTW AIN PEN N ,knowing thathe had been convicted ofa

ctim ep xnishable by im pdsonm entforatetm exceecling oneyeat,did knowingly possessa

ftrelt'm,to wit,aTalltnas,m odelG 2C,9m m semi-autom aticpistol,said fl
                                                                      'tent'm having been

sllipped and ttanspozted in interstate ozforeign com m erce.

       2. A11in'
               dolationofTitle18,UnitedStatesCode,j922(g)(1).
                              NOTICE OF FORFMITURE
              Upon convicdon ofone otm ote ofthe felony offènsesalleged in this

Indictm ent,the defendantshallfotfeitto the United States:

          a. anyvisualdepiction describedin 18U.S.C.jj2251,2251A,or
          2252,2252/,22528 or2260,otany book,m agazine,periodical,
          6lm ,videotape,oz otheê-fnatterwhich contninsany such visual
          depicéon,wllich wasptoduced,transported,m ailed,shipped or
          receiveditlviolation oflaw,ptusuantto 18U.S.C.j2253(a)(1).
          b. any propeo ,realorpersonal,constitutlng ortzaceable to gross
          prohtsorothetpzoceedsobtnined fzom said violadon oflaw,
          pursuantto18U.S.C.j2253(a)(2).
          c. anypropezty,realotpezsonalused orintended to be used to
          com m itorto prom ote the com m ission ofsaid violation oflâw,or
   Case 4:20-cr-00012-JLK Document 1 Filed 03/05/20 Page 3 of 4 Pageid#: 3




          anypzopertytm ceableto such propetty,ptztsuantto 18U.S.C.j
          2253(a)(3).
          d.any flrent'm sand am m unition itw olved orused in the
          com m ission ofsaid offenses,orpossessed it'lvioladon theteof,
          plzrsuantto'18U.S.C.j924$)and28U.S.C.j2461(c).

             Theptopetty to be forfeited to theUnited Statesincludesbutisnotlim ited to

thefollowing property:

                    Firearm ts)and Ammunidon orotherassets
             1.Tapxtn's,m odelG2C,9mm serni-autom aécpistol,SN *14 Z579939
             2. A11am m llniéon,m agazines,and accessodesassociated * :.
                                                                       1,
                                                                        1thisfttenl'm .

             b.     Electronics

             1. Snmsung,N ote9M odelN llmbet:SM -N 960U,IM SI/IM EI:
             357584098615729

             2.LG Stylo 5M odelNllmbet:LM -Q720PS,IM SI/IM EI:3560951023142429
             Ifany oftlae above-desctibed fotfeitableptopetty,asatesultofany actot

onlission ofthe defendant:

          a. carm otbe located upon the exercise ofdueJiligence;
          é. hasbeen transfetred orsold to,ordeposited with athitd pezson;
          c. hasbeen placed beyondthejutisdicdon oftlaeCoutt;
          d. hasbeen substanéally Jim inished in value;oz
          e. hasbeen com m ingled with othetpropertywhich cannotbe
          subdividedwithoutdifhctzlty;


itistheintentoftheU nited Statesto seek fozfeitateofany otherptopetty ofthedefendant

uptothevalueoftheabove-describedfozfeitableproperty,pursuantto21U.S.C.j'853(p).
     Case 4:20-cr-00012-JLK Document 1 Filed 03/05/20 Page 4 of 4 Pageid#: 4




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' ho asT.Cullen
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